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 6

 7

 8                              UNITED STATES DISTRICT COURT
 9                        NORTHERN DISTRICT OF CALIFORNIA
10

11   FOCUS 15, LLC,                             Case No.
12                 Plaintiff,                   COMPLAINT FOR:
13        v.                                      (1)   18 U.S.C § 1962(c) and § 1964
                                                        (CIVIL RICO);
14   NICO CORPORATION, a California
     Corporation; IAN MATTHEW                     (2)   18 U.S.C § 1962(d) and § 1964
15   HANNULA, an individual; JOSEPH                     (CIVIL RICO CONSPIRACY);
     PHILIP HALLER, an individual; and
16   DOES 1 through 50, inclusive,                (3)   BREACH OF CONTRACT
17                 Defendants.
                                                  (4)   MONEY HAD AND
18                                                      RECEIVED
19                                                (5)   UNJUST ENRICHMENT
20
                                                  (6)   VIOLATION OF
21                                                      CALIFORNIA BUSINESS &
                                                        PROFESSIONS CODE § 17200
22

23                                              DEMAND FOR TRIAL BY JURY
24

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                                          COMPLAINT
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 1                            I.   SUMMARY OF COMPLAINT
 2         1. Focus 15 entered into four separate written promissory notes to loan a total of
 3   $225,000.00 to Defendant NICO Corp. between February 2016 and February 2017.
 4   Defendants Hannula and Haller signed each contract as guarantors before a notary public.
 5         2. Focus 15 has performed all of its obligations under the promissory notes by
 6   actually providing the loan amounts to Defendants.
 7         3. In April 2017, Defendants stopped making monthly payments on each of the
 8   four promissory notes in breach of the express terms of the notes proximately causing
 9   damage to Focus 15.
10         4. By improperly retaining the money given by Focus 15 to Defendants,
11   Defendants have been unjustly enriched.
12                                     II.      PARTIES
13         A.    Plaintiff
14         5. Plaintiff FOCUS 15, LLC. is now, and at all times mentioned in this
15   complaint was, a New York LLC with its principal place of business in Brooklyn,
16   New York.
17         B.    Defendants
18         6. Defendant NICO CORPORATION is now, and at all times mentioned in this
19   complaint was, a California Corporation with its principal place of business in San
20   Francisco, California.
21         7. On information and belief, Defendant IAN MATTHEW HANNULA is an
22   individual residing in the State of California, County of San Francisco. Hannula is
23   the Chief Executive Officer and President of Defendant NICO Corp. and is a personal
24   guarantor of each of the contracts breached by Defendants here.
25         8. On information and belief, Defendant JOSEPH PHILIP HALLER is an
26   individual residing in the State of California, County of San Francisco. Haller is the
27   Chief Financial Officer and Secretary of Defendant NICO Corp. and is a personal
28   guarantor of each of the contracts breached by Defendants here.

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 1         9. The true names and capacities of Defendants referred to in this Complaint as
 2   Does 1 to 50, inclusive, and each of them, are unknown to Focus 15 at this time. Focus
 3   15 is informed and believes that they are in some way responsible for the injury and
 4   damages incurred. Focus 15 will amend this Complaint to allege the true names and
 5   capacities of Does 1 to 50 when ascertained.
 6         10. Focus 15 is informed and believes and alleges that at all material times each of
 7   the Defendants were the agents, servants, directors, managers or employees of the co-
 8   defendants, and in doing or omitting the things alleged in this Complaint were acting in
 9   an agency, managerial or employment capacity within the course and scope of their
10   authorities, and their acts and conduct were with the permission and consent of the co-
11   defendants. Focus 15 is informed and believes, and therefore alleges that all of the
12   conduct by the individual Defendants that was outside the scope of their authority was
13   known to, authorized and ratified by the co-defendants.
14         11. Focus 15 is further informed, believes, and alleges that each Defendant
15   designated as a Doe was responsible, negligently, or in some other actionable manner, for
16   the events and happening referred to in this Complaint, which directly or proximately
17   caused injury and damages to Focus 15.
18                            III.   JURISDICTION AND VENUE
19         12. This Court has original subject matter jurisdiction over this action under the
20   Racketeering Influenced and Corrupt Organizations Act, 18 U.S.C. § 1964 (the “RICO
21   Act” or “RICO”).
22         13. This Court has personal jurisdiction over all Defendants and venue is proper
23   because all Defendants are residents of the State of California and within this judicial
24   district. Further, the acts and practices of all Defendants described here occurred in
25   California and within this judicial district, and this Court has jurisdiction over the
26   controversy, which arises out of that conduct.
27   ///
28   ///

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 1                                        IV.    FACTS
 2         14. On February 23, 2016, Defendant NICO Corp. entered into a written
 3   promissory note with Focus 15 (“Note 1”) in which Focus 15 agreed to loan Defendant
 4   NICO Corp. one-hundred thousand dollars ($100,000.00). Defendant NICO Corp. agreed
 5   to repay the note subject to eight percent (8%) interest and to make payments on the first
 6   day of each month beginning on April 1, 2016, through the maturity date on March 1,
 7   2020. Defendants Hannula and Haller signed a Guaranty of the note in exchange for ten
 8   dollars ($10.00). A true and correct copy of the Note 1 written agreement signed by
 9   Defendants and notarized in San Francisco County is attached as Exhibit A.
10         15. On June 1, 2016, Defendant NICO Corp. entered into a written promissory note
11   with Focus 15 (“Note 2”) in which Focus 15 agreed to loan Defendant NICO Corp. fifty
12   thousand dollars ($50,000.00). Defendant NICO Corp. agreed to repay the note subject
13   to eight percent (8%) interest and to make payments on the first day of each month
14   beginning on July 1, 2016, through the maturity date on June 1, 2020. Defendants
15   Hannula and Haller signed a Guaranty of the note in exchange for ten dollars ($10.00). A
16   true and correct copy of the Note 2 written agreement signed by Defendants and notarized
17   in San Francisco County is attached as Exhibit B.
18         16. On July 31, 2016, Defendant NICO Corp. entered into a written promissory
19   note with Golden Focus, LLC (“Note 3”) in which Golden Focus agreed to loan
20   Defendant NICO Corp. fifty thousand dollars ($50,000.00). Defendant NICO Corp.
21   agreed to repay the note subject to eight percent (8%) interest and to make payments on
22   the fifteenth day of each month beginning on August 15, 2016 through the maturity date
23   on August 15, 2020. Defendants Hannula and Haller signed a Guaranty of the note in
24   exchange for ten dollars ($10.00). A true and correct copy of the Note 3 written agreement
25   signed by Defendants and notarized in San Francisco County is attached as Exhibit C.
26         17. On or around July 17, 2017, Golden Focus assigned Note 3 to Focus 15.
27         18. On February 15, 2017, Defendant NICO Corp. entered into a written
28   promissory note with Focus 15 (“Note 4”) in which Focus 15 agreed to loan Defendant

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 1   NICO Corp. twenty-five thousand dollars ($25,000.00). Defendant NICO Corp. agreed
 2   to repay the note subject to eight percent (8%) interest and to make payments on the first
 3   day of each month beginning on December 1, 2016. Defendant agreed to pay fifty percent
 4   (50%) of the loan by March 15, 2017 and the entire outstanding balance of the loan by
 5   April 15, 2017. Defendants Hannula and Haller signed a Guaranty of the note in exchange
 6   for ten dollars ($10.00). A true and correct copy of the Note 4 written agreement signed
 7   by Defendants and notarized in San Francisco County is attached as Exhibit D.
 8         19. On or around April 17, 2017, and continuing to the present, Defendants failed
 9   to make the agreed upon payments on any of the notes in breach of the express terms of
10   the written promissory notes.
11         20. In fact, Defendants never had any intention to pay back these loans.
12         21. Defendants’ acts of entering into the promissory notes and accepting the loan
13   proceeds constituted a fraudulent scheme to accept funds with no intention of paying
14   them back.
15                                FIRST CAUSE OF ACTION
16                         Civil RICO 18 U.S.C. § 1962(c) and 1964
17                                   (Against All Defendants)
18         22. Focus 15 incorporates by reference the allegations in paragraphs 1-21 of this
19   Complaint as though fully set forth here.
20         23. Defendants formed an enterprise, NICO Corp., and association-in-fact
21   enterprise with the meaning of 18 U.S.C. § 1961(4) (the “Enterprise”)
22         24. The Enterprise is an ongoing organization of Defendants NICO Corp.,
23   Hannula, and Haller associated for common and shared purposes, including: (a)
24   conceiving and planning a fraudulent scheme to enter into promissory notes with Focus
25   15 and accepting the funds with no intention of paying them back, as described in
26   paragraphs 14-21; and (b) taking overt acts to enter into the promissory notes and accept
27   funds with no intention of paying them back.
28         25.    All Defendants through the Enterprise engaged in and continue to engage

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 1   in a pattern of racketeering activity comprised on the predicate acts of mail fraud (18
 2   U.S.C. § 1341) and wire fraud (18 U.S.C. § 1343).
 3         26. The Enterprise engaged in or affected interstate commerce because Focus 15
 4   is a New York LLC and its managing member resides in California. Further,
 5   Defendants made use of interstate wires and mail to transfer the proceeds of the loans.
 6         27. Each fraudulent singing of each promissory notes and fraudulent acceptance
 7   of funds constitutes a separate violation and predicate act.
 8         28. Each Defendant in this action has engaged in two or more predicate acts as
 9   detailed above.
10         29. Each Defendant agreed to conduct, and did conduct or participate in, the
11   Enterprise’s affairs through a pattern of racketeering activity. Defendants intended their
12   activity to obtain ill-gotten proceeds. Defendants intended their activity to injure
13   Plaintiff Focus 15 in its financial interests.
14         30. The predicate acts described here are related because they were committed
15   using the same or similar methods and conduct, targeted the same or similar victims,
16   involved the same or similar participants, and were performed for the same or similar
17   purposes. See H.J. Inc. v. Nw. Bell Tel. Co., 492 U.S. 229, 240 (1989). The predicate
18   acts described here are continuous, occurring from 2015 until the present. That time
19   period represents close-ended continuity. Id.
20         31. By executing the scheme to extort Focus 15, as described above, all
21   Defendants have participated in the scheme to extort Focus 15.
22         32. Defendants’ pattern of racketeering activity damaged Focus 15 in the amount
23   of $225,000 of improperly obtained loan proceeds that Defendants have not paid back
24   and in an amount to be proven at trial for legal costs associated with Defendants’
25   fraudulent scheme to accept funds with no intention of paying them back.
26   ///
27   ///
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 1                               SECOND CAUSE OF ACTION
 2                   Civil RICO Conspiracy 18 U.S.C. § 1962(d) and 1964
 3                                     (Against Defendants)
 4         33. Focus 15 incorporates by reference the allegations in paragraphs 1-32 of this
 5   Complaint as though fully set forth here.
 6         34. All Defendants conspired to engage in a pattern of racketeering activity
 7   comprised on the predicate acts of mail fraud (18 U.S.C. § 1341) and wire fraud (18
 8   U.S.C. § 1343). Defendants each agreed to facilitate all or some of the predicate acts
 9   described in paragraphs 14-21 here. That agreement is manifest by their knowing
10   participation in or support of the predicate acts identified here.
11         35. By planning and executing the scheme to extort Focus 15, as described above,
12   all Defendants have participated in the scheme to extort Focus 15.
13         36. As a direct and proximate result of Defendants’ conspiracy, the overt acts
14   taken in furtherance of that conspiracy, and violations of 18 U.S.C. § 1962(d), Plaintiff
15   Focus 15 has been injured in its business and property as described above.
16         37. Defendants’ pattern of racketeering activity damaged Focus 15 in the amount
17   of $225,000 of improperly obtained loan proceeds that Defendants have not paid back
18   and in an amount to be proven at trial for legal costs associated with Defendants’
19   fraudulent scheme to accept funds with no intention of paying them back.
20                                THIRD CAUSE OF ACTION
21                                      Breach of Contract
22                                   (Against All Defendants)
23         38. Focus 15 incorporates by reference the allegations in paragraphs 1-37 of this
24   Complaint as though fully set forth here.
25         39. Between February 2016 and February 2017, Defendant entered into four
26   promissory notes and guaranties with Focus 15 and Golden Focus (Note 3 was assigned
27   by Golden Focus to Focus 15 on or around July 17,2017) totaling $225,000.00.
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 1         40. Under the express terms of the promissory notes, Defendants had an obligation
 2   to pay Focus 15 monthly payments to repay each of the four notes totaling $225,000 with
 3   eight percent (8%) interest.
 4         41. Focus 15 performed all of its obligations under the notes by providing
 5   Defendants the sum of each loan, totaling $225,000.00, and compensation for the
 6   Guaranties.
 7         42. In or around April 2017, Defendant breached the promissory notes by refusing
 8   to make payments under the express terms of the notes.
 9         43. As a proximate cause of Defendants’ breach, Focus 15 was damaged in an
10   amount to proven at trial.
11         44. The express terms of each note allow for the recovery of attorneys’ fees, costs
12   and expenses to enforce the Note.
13                                FOURTH CAUSE OF ACTION
14                                  Money Had and Received
15                                  (Against All Defendants)
16         45. Focus 15 incorporates by reference the allegations in paragraphs 1-44 of this
17   Complaint as though fully set forth here.
18         46. Between February 2016 and February 2017, Focus 15, and through an assigned
19   note from Golden Focus, loaned a total amount of $225,000.00 to Defendants. The money
20   loaned belonged to Focus 15 subject to the terms of repayment of the notes.
21         47. Defendants received and benefited from the receipt of the money. Since
22   approximately April 2017, Defendants have refused to make any further payments on
23   the notes.
24         48. Under the principles of equity and good conscience, Defendants should not be
25   permitted to keep Focus 15’s money loaned to Defendants by Focus 15.
26   ///
27   ///
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 1                                 FIFTH CAUSE OF ACTION
 2                                      Unjust Enrichment
 3                                   (Against All Defendants)
 4           49. Focus 15 incorporates by reference the allegations in paragraphs 1-48 of this
 5   Complaint as though fully set forth here.
 6           50. Between February 2016 and February 2017, Focus 15, and through an assigned
 7   note from Golden Focus, loaned a total amount of $225,000.00 to Defendants. The money
 8   loaned belonged to Focus 15 subject to the terms of repayment of the notes.
 9           51. Defendants were enriched by the loans at the expense of Focus 15.
10           52. Defendants have retained the enrichment after failing to make agreed upon
11   payments under the express terms of the notes.
12           53. Focus 15 seeks to recover the amount loaned to Defendants plus eight percent
13   (8%).
14           54. It is against the principles of equity and good conscience to permit Defendants
15   to retain what Focus 15 seeks to recover.
16                                 SIXTH CAUSE OF ACTION
17                     Violation of Business and Professions Code § 17200
18                                   (Against All Defendants)
19           55. Focus 15 incorporates by reference the allegations in paragraphs 1-54 of this
20   Complaint as though fully set forth here.
21           56. California Business & Professions Code section 17200 prohibits any
22   unlawful, unfair, and fraudulent business practice.
23           57. Defendants violated section 17200 but engaging in the unlawful act or
24   practice of entering into promissory notes and obtaining loan proceeds with no intention
25   of ever paying them back.
26           58. As a result of Defendants’ conduct, Focus 15 suffered harm, as described
27   above.
28   ///

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1                                  PRAYER FOR RELIEF:
2          WHEREFORE, Focus 15 prays for judgment in its favor and against Defendants,
3    jointly and severally, and requests that this Court award Focus 15 the following:
4          A.    An award of compensatory damages in an amount to be determined at trial;
5          B.    An award of threefold damages sustained by Focus 15 under RICO, 18
6    U.S.C. § 1964(c);
7          C.    An award of costs and reasonable attorney fees and expenses incurred by
8    Focus 15 in connection with this action under 18 U.S.C. § 1964(c);
9          D.    Pre-judgment and post-judgment interest on the above damage awards;
10         E.    An order adjudging all Defendants jointly and severally liable, as the law
11   allows, under each cause of action asserted by Focus 15 and for all damages awarded
12   against any Defendant;
13         F.    Such other relief as this Court may deem just.
14

15   Dated: February 26, 2021              FORD & DIULIO PC
16

17                                         By:
                                                 Brendan M. Ford
18
                                                 Attorneys for Plaintiff
19                                               FOCUS 15, LLC
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1                                 JURY TRIAL DEMAND
2         Plaintiff Focus 15, LLC demands a trial by jury.
3

4    Dated: February 26, 2021                    FORD & DIULIO PC
5

6                                        By:
                                               Brendan M. Ford
7
                                               Attorneys for Plaintiff
8                                              FOCUS 15, LLC
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